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 5                       UNITED STATES DISTRICT COURT
 6
                                 DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,
 8
          Plaintiff,                    Case No. 3:19-CR-00026-LRH-WGC
 9   v.
                                        ORDER APPROVING:
10   IVY ELLIOTT,                       STIPULATION AND ORDER TO
                                        CONTINUE SENTENCING HEARING
11              Defendant.
     __________________________/        (First Request)
12
          IT IS HEREBY STIPULATED AND AGREED by and through Nicholas A.
13
     Trutanich, United States Attorney for the District of Nevada, and
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     Peter Walkingshaw, Assistant United States Attorney, counsel for the
15
     United States of America, and Janice A. Hubbard, Esq., counsel for
16
     defendant, Ivy Elliott, that the sentencing hearing currently
17
     scheduled for to January 14, 2021, be vacated and continued to June
18
     1, 2021 at 1:30 p.m.
19
          1. The additional time requested by this Stipulation to Continue
20
     Sentencing Hearing is reasonable pursuant to Fed.R.Crim.P. Rule
21
     32(b)(2), which states that the “court may, for good cause, change
22
     any time limits prescribed in this rule.”
23
          2.   Ms. Elliott is expected to be a witness in the pending
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     trial, which should precede her sentencing.
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          3.   Further, the additional time is requested to allow the
26
     parties to prepare for the sentencing hearing.
                                         1
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 1        4. Defendant is out of custody and agrees with the continuance.

 2        5. All parties agree to the continuance.

 3        6. This Stipulation is made in good faith and with good cause,

 4   and not for the purposes of delay.
 5                   DATED this 19th day of November, 2020.
 6   NICHOLAS A. TRUTANCIH
     United States Attorney
 7
     /s/ Peter Walkingshaw____________                            /s/ Janice A. Hubbard
 8   PETER WALKINGSHAW                                            JANICE A. HUBBARD, ESQ.
     Assistant United States Attorney                             Counsel for Defendant
 9

10
                                                         ORDER
11
          IT IS HEREBY ORDERED THAT, based upon the foregoing Stipulation
12

13
     by the parties, and GOOD CAUSE APPEARING, the sentencing hearing

14   currently scheduled for to January 14, 2021 be vacated and continued

15   to June 1, 2021 at 1:30 p.m.
                                 This is good LRH signature



16

17   DATED: November 30, 2020.

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19                          ________________________________
                            HON. LARRY R. HICKS
20                          UNITED STATES DISTRICT JUDGE

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